Case 1:21-cv-01169-TCB Document 43-1 Filed 05/07/21 Page 1 of 2

Nie State Bar

os of Geor Gla Office of the General Counsel

Paula J. Frederick
General Counsel

February 11, 2021

Mr. L. Lin Wood, Jr.

L.. Lin. Woed, PC

663 Greenview Avenue, NE
Atlanta, Georgia 30305

and

Mr. L. Lin Wood

L. Lin Wood, P.C.

P.O. Box 52584

Atlanta, GA 30355-0584

Dear Mr: Wood:

As you requested, I forwarded your email of January 29, 2021 with the embedded link to
the members of the State Disciplinary Board. The Board did not reconsider its finding that you
may be impaired or incapacitated to practice law. Pursuant to Bar Rule 4-104, the Board hereby
requests that you consent to a confidential evaluation by a medical professional.

The Board has preliminarily identified a medical doctor who has agreed to perform the
evaluation at the Bar’s.expense.. Please respond.to.this letter. advising me whether you will
undergo the evaluation:so that we can finalize arrangements with the doctor and give you contact
information. I understand that you are now living in South Carolina, so if you prefer to see a
doctor closer to your residence I will make those arrangements.

Bar Rule 4-104 provides that a lawyer’s refusal to participate in an evaluation
recommended under the rule may be grounds for further proceedings under Bar Rules. If you
decline to cooperate I will convey that decision to the State Disciplinary Board so that they may
decide how to proceed.

104 Marietta St. NW; Suite 100 - Atlanta, GA 30303-2743 + 404-527-8720 - Fax 404-527-8744 -
www.gabar.org
Case 1:21-cv-01169-TCB Document 43-1 Filed 05/07/21 Page 2 of 2

Please let me have your response in writing within 10 days.
Sincerely,

0, Vedlarekt.

Paula J. Frederick
General Counsel

PJF/dmg
